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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

JOSEPH GRIMANDO,

               Plaintiff,

       vs.                                           No. 21-CV-00108 KWR/KK

UNITED STATES OF AMERICA,

               Defendant.

                            MOTION FOR EXTENSION OF TIME
                             TO FILE CLOSING DOCUMENTS

       Defendant United States of America moves the Court for a 32-day extension of time for the

parties to file the closing documents in this matter or until September 6, 2022. The Court originally

ordered the parties to submit closing documents by no later than July 5, 2022, and granted an

extension until August 5, 2022. Docs. 29, 31. Due to change in Assistant United States Attorney

and in staff, the United States inadvertently failed to submit the claim to the Judgment Fund until

the date of this filing. Defendant needs the additional time for the Judgment Fund to process the

claim and pay the claim.
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        The United States sought the position of Plaintiff regarding this motion but did not hear

back.

                                                      Respectfully submitted,

                                                      ALEXANDER M. M. UBALLEZ
                                                      United States Attorney

                                                      /s/ Ruth F. Keegan 8/5/22
                                                      RUTH F. KEEGAN
                                                      Assistant United States Attorney
                                                      District of New Mexico
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 5, 2022, I filed the foregoing pleading electronically through
the CM/ECF system which caused all parties or counsel of record to be served by electronic means
as more fully reflected on the Notice of Electronic Filing.

                                                      /s/ Ruth F. Keegan
                                                      RUTH F. KEEGAN
                                                      Assistant United States Attorney




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